Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                         Main Document    Page 1 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                         Main Document    Page 2 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                         Main Document    Page 3 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                         Main Document    Page 4 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                         Main Document    Page 5 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                         Main Document    Page 6 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                         Main Document    Page 7 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                         Main Document    Page 8 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                         Main Document    Page 9 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 10 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 11 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 12 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 13 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 14 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 15 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 16 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 17 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 18 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 19 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 20 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 21 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 22 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 23 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 24 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 25 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 26 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 27 of 28
Case 1:20-bk-11784-MB   Doc 213 Filed 09/08/21 Entered 09/08/21 17:10:25   Desc
                        Main Document     Page 28 of 28
